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                           IN THE UNITED STATES DISTRICT COURT FOR THE
                                   EASTERN DISTRICT OF MISSOURI
                                         EASTERN DIVISION

       THE UNITED STATES OF AMERICA,                        )
                                                            )
                         Plaintiff,                         )
                                                            )
       V.                                                   )           Case No. 4: 19CR00395 RL W
                                                            )
       BRYAN_G. VONDERAHE,                                  )
                                                            )
  !RECEIVED              Defendant.                         )
  MAY 1 7 2019
 U.S. District Court                  NOTICE OF LIS PENDENS
Eastern District of MO
                  NOTICE IS HEREBY GIVEN that the foregoing action has been commenced and is now

       pending in the United States. District Court for the Eastern
                                                            .
                                                                    District of Missouri between the parties

       named above. The property whose title is at issue in that action is located at 12539 Chardin Place,
                                                     t
       Unit 3, St. Louis, Missouri 63128 being further described as:

                  (a) All that tract or parcel ofland situate and being in St. Louis County, State of Missouri,
              1
                  and being more particularly described as follows: Unit 3 in Building 12539 of Chardin
                  Place Condominiums; a condominium, according to the plat thereof recorded in Plat
                  Book 351, Page 134 in the St. Louis County Recorder's Office, together with an
                  undivided share of the common elements, according to and more particularly described in
                  the Declaration of Condominium and By-Laws recorded in Book 14669, Page 637, and
                  subsequent amendments thereto.                      ·                           :

       with all appurtenances, improvements and fixtures thereon.
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       The action, which is criminal action against defendant Bryan G. Vonderahe, seeks that any

right, tide, and interest in the property at issue be condemned and forfeited to the United States of

America and as such is an action affecting the title to said property.

       For further information concerning this proceeding, reference may be had to the records of

the Clerk of the United States District Court for the Eastern District of Missouri, Eastern Division,

St. Louis, Missouri.



Dated: May 16, 2019                                 Respectfully submitted,

                                                    JEFFREY B. JENSEN
                                                    United States Attorney

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